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the Government's briefing (Doc. # I 07 at 1-4) and at the hearing of March 29, 2018, I conclude

that this evidence is proper background evidence for the jury's understanding of events occurring

within the conspiracy period. See United States v. Diaz, 176 F.3d 52, 79 (2d Cir. I 999). Upon

request at trial by defense counsel, I will instruct the jury as to such pre-July-2008 evidence that

the jury may only consider this evidence as background evidence for their understanding of

events that occurred during the conspiracy period.

         Defendant's motion in limine to preclude testimony ofSpecial Agent Luca (Doc. #108)

         Defendant has moved in limine to preclude the proposed testimony of FBI Special Agent

Jonathan Luca (Doc. #108). In response to this motion, the Government has substantially revised

the proposed testimony of Agent Luca (Doc. #187). For the reasons I stated during the

teleconference of April 12, 2018, I will deny the motion to preclude Agent Luca's proposed

testimony subject to the Government's representations about the limited scope of questioning

(including not to query beyond very basic questions as proposed by the Government about price

response to supply/demand or to query concerning reasons for a market order to be cancelled).

         As to the documentary exhibits that the Government proposes to offer through Agent

Luca, I conclude that the Government may do so in the manner proposed by the Government by

which Agent Luca will testify essentially as a custodial witness and not about the contents of or

interpretation of the content of exhibits.3 In view of the revised limitations proposed by the

Government concerning the scope and nature of Agent Luca's testimony, I do not agree with

defendant that he will be unfairly prejudiced if Agent Luca is permitted to testify in a dual

expert/fact witness capacity and that is subject to the limits I have described.


         3 At the April 12 teleconference of the parties, I asked the parties to attempt to resolve any disputes about

the admissibility of the exhibits that the Government proposes to admit through Agent Luca and in light of what the
Government believes was defendant's prior agreement not to object to these exhibits. The parties should advise me
if a dispute with respect to this issue remains for me to resolve.


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Evid. 404(b) unless defendant were to open the door to the admission of such evidence. Doc.

#179 at 100-01. 5

          This ruling in tum led to a dispute about whether evidence of defendant's front-running

activity would be a proper subject for the Government's re-direct examination of cooperating

witness Mike Chan in the event of defendant's anticipated cross-examination of Chan concerning

his personal participation in other allegedly fraudulent or manipulative trading activity (whether

or not labeled as "front running" activity). According to what the parties tell me, this additional

activity took place after Chan moved to a UBS trading desk in Singapore from the UBS trading

desk in Connecticut where he and defendant had worked directly with each other. Defendant

argues that he should be able to impeach Chan with his additional dishonest conduct, because it

goes to his motive to cooperate with the Government and to his general credibility. The

Government does not dispute that this is proper impeachment but contends that on re-direct

examination (or possibly for preemptive purposes during direct examination) it should be

permitted to elicit from Chan that he was "schooled" by Flotron in the kinds of improper

techniques he later used while in Singapore. Defendant objects, contending that this is simply a

back-door way of the Government's introduction of evidence otherwise prohibited under Rule

404(b).

          I agree with defendant. The fact that Chan may have been "schooled" by defendant to

engage in additional fraudulent techniques is not relevant to the impeachment purposes for which

defendant seeks to cross-examine Chan: to show his motives and past dishonesty. Even if it was

defendant who taught him how to be dishonest, this doesn't undermine the impeachment value of


          5
           Spoofing involves manipulation ofmarket prices by placing a market order with the intent to cancel it,
while front-running activity generally involves placing a private market order on the basis ofknowledge about a
client's soon-to-be placed market order. See, e.g., Liz Moyer, How Traders Use Front-Running to Profit.from Client
Orders, N .Y. Times, July 20, 20 I 6, available at https://nyti .ms/2nEw8fR {last accessed Apr. 15, 2018).


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